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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
YSAEL ESPINOSA,                                                        :
                                                                       :
                                      Plaintiff,                       :
                                                                       : 18 Civ. 8855 (LGS) (SN)
                   -against-                                           :
                                                                       :
ABRAHAM REFRIGERATION CORP. d/b/a                                      : STIPULATION AND
ABRAHAM REFRIGERATION and ABRAHAM                                      : XPROPOSED
                                                                           X X X X X X X ORDER
PEREZ,                                                                 : EXTENDING JUDGMENT
                                                                       :
                                      Defendants.                      :
---------------------------------------------------------------------- X
        WHEREAS, on March 24, 2021, Plaintiff, through counsel, filed a pre-motion
conference letter (ECF No. 75) requesting permission to file a motion for turnover of
Defendants’ property located at 2350 Washington Avenue, Bronx, New York 10458 and for
an extension of Plaintiff’s judgment for attorneys’ fees and costs in the amount of
$74,310.25 (ECF No. 64) (the “Fees Judgment”) over Defendants’ newly formed
corporation, 480 E. Tremont Corp.;

       WHEREAS, on March 31, 2021, Defendants replied to Plaintiff’s letter explaining that
a turnover would void payments already made, including a payment made to Plaintiff,
and proposed instead extending the Fees Judgment so that it could be enforced, jointly and
severally, against both Defendants and 480 E. Tremont Corp.; and

       WHEREAS, by Order dated April 5, 2021 (ECF No. 78), the Court ordered the
Parties to “meet and confer to discuss Defendants’ proposal and any other possible plans for
Defendants’ payment of the fees judgment and shall jointly file (1) a letter apprising the
Court of the outcome of their discussions and proposing any necessary next steps and to the
extent the parties agree to extend the fee judgment to 480 E. Tremont Corp., (2) a proposed
stipulation extending the judgment” by April 12, 2021;

      NOW THEREFORE, the Parties, through their respective undersigned counsel,
agree to extend the Fees Judgment over 480 E. Tremont Corp., such that Plaintiff may
enforce it against all Defendants and 480 E. Tremont Corp., jointly and severally; and

      The Parties jointly request that the Court continue to adjourn the pre-motion
conference for Plaintiff’s turnover motion sine die pending the Parties’ discussions
concerning Defendants’ payment of the Fees Judgment. The Parties agree that if their
discussions are fruitless, Plaintiff is free to continue with his request for permission to file a
motion for turnover of Defendants’ property.

The Fees Judgment is extended to 480 E. Tremont Corp. The pre-motion conference originally
scheduled for April 8, 2021, (Dkt. No. 74), and adjourned sine die by the Court's April 5, 2021, Order
(Dkt. No. 78) is CANCELLED. To the extent Plaintiff requires assistance from the Court to enforce the
Fees Judgment, he shall file a new pre-motion letter.

The Clerk of Court is respectfully directed to enter judgment in the amount of $74,310.25 against
480 E. Tremont Corp. and to close the motion at Docket No. 75.
So Ordered.
Dated: April 13, 2021
       New York, New York
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Dated: New York, New York
       April 12, 2021

PECHMAN LAW GROUP PLLC                 LAW FIRM OF ADAM C. WEISS, PLLC



By: s/ Gianfranco J. Cuadra        .   By: _______________________________
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